                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION



 MICHAEL NETTIE, on behalf of itself               CASE NO. 06-0236-CV-W-REL
 and all others similarly situated,

                        Plaintiff,                 CLASS ACTION COMPLAINT

                 v.                                JURY TRIAL DEMANDED

 H&R BLOCK, INC., and MARK A.
 ERNST

                        Defendants.


       Plaintiff Michael Nettie, by his undersigned attorneys, alleges, upon information and

belief (said information and belief being based, in part, upon the investigation conducted by and

through its counsel), except with respect to paragraph 19, which is alleged upon personal

knowledge, that defendants H&R Block, Inc. (“HRB” or the “Company”) and Mark A. Ernst

engaged in a fraudulent course of business conduct between the period of January 31, 2005

through March 14, 2006 inclusive (the “Class Period”), and as follows:

                                     NATURE OF THE ACTION

       1.       HRB is a beleaguered company. Poor corporate governance, patent refusal to

employ adequate internal controls, and both reckless and intentional disregard for the law has

incurred the wrath of State Attorneys’ General, stockholders and customers alike. This conduct

has financially harmed stockholders as they witnessed the value of their shares fall during the

Class Period to record lows.

       2.       In particular, in February 2005, California Attorney General Bill Lockyer sued the

Company over its highly publicized referral anticipation loans, (“RALs”) seeking “hundreds of

millions of dollars” on behalf of customers and $20 million in civil penalties.



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       3.       The California Attorney General’s action joins a long list of lawsuits that have

targeted HRB's "refund anticipation loans" -- cash advances that the Company arranges for

customers so they won't have to wait an extra one to four weeks for a check from the federal

government they are otherwise entitled to receive. In return for the loans, customers must agree

to give a percentage of their tax refunds to HRB and its banking partners. More than 1.5 million

Californians have received tax refund loans through HRB offices since 2001, the suit alleged.

       4.       Importantly, the loans are a major moneymaker for HRB. In its last fiscal year

ending April 2005, HRB recognized a pretax profit of $101.3 million on revenue of $182.8

million generated from the loans nationwide, according to the Company's annual report, as

discussed below.

       5.       In December 2005, the Company paid $62.5 million to settle class-action suits

pending in several jurisdictions alleging the Company charged “usurious” interest rates on loans

secured by anticipated tax refunds.

       6.       In February 2006, in one of the most ironic developments imaginable, HRB, a

Company that specializes in tax-related services, reported that it missed fiscal third-quarter EPS

estimates, low-end guidance, and reported it would be restating prior-period earnings due to

errors in calculating its own income tax rates.

       7.       Finally, on March 15, 2006, New York Attorney General Elliot Spitizer sued

HRB alleging that the Company over the last four years opened more than 500,000 “Express

IRA” accounts, an individual retirement account (“IRA”) that can take the form of either a

Traditional IRA or a Roth IRA, for clients of its tax-preparation service; but 85% of the

customers who opened the accounts paid the Company fees in excess of what they earned in

interest. According to Mr. Spitzer’s complaint, the program exploited lower income, working




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families who were led to believe the plan presented an excellent opportunity to save for

retirement.

       8.       Mr. Spitzer’s complaint further avers that Mr. Ernst, the Company’s Chief

Executive Officer, (“CEO”) was aware of the improper fee practices along with other high-

ranking members of management.

       9.       Revelations concerning the Company’s illegal practices concerning the fraudulent

Express IRA scheme hammered the Company’s stock. By late afternoon trading on March 15,

2006, the Company’s price per share was down 5.5% at $20.28; earlier, shares traded as low as

$19.80 per share, passing the previous 52-week low of $21.58 set on March 16, 2006.

       10.      The Company’s use of these improper practices served to artificially inflate the

Company’s reported earnings during the Class Period because the Company’s earnings were

generated through an illegal and unsustainable business practice. Accordingly, the Company’s

Class Period statements concerning its compliance with applicable laws and regulations were

false. Also, the Company, having disclosed the existence of - and touted the success of - the

Express IRA plan and the RALs program, was obligated to disclose the risks associated with the

business, including that members of management, e.g., Mr. Ernst, were aware that these plans (or

at least how they were implemented) violated applicable laws.           Failure to disclose this

information constituted material omissions, the ultimate disclosure of which harmed the

Company’s stockholders.

       11.      Further, the Company reported inflated earnings during the Class Period. As

reported on or about February 23, 2006, the Company must restate results for fiscal 2004 and

2005, plus previous 2006 quarters, because of errors in calculations regarding its state effective




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income tax rate. Reportedly, the errors resulted in the Company understating state income tax

liabilities by at least $32 million as of the end of April 2005.

       12.     In particular, the self-described leading authority on personal income tax

preparation underestimated its state income tax liability by approximately $32 million; that

would hit earnings by a total of $0.09 a share -- $0.07 in 2005 and $0.02 in 2004. However, since

the Company reportedly was still reviewing its control mechanisms, these were only preliminary

figures that could very well change.

                                 JURISDICTION AND VENUE

       13.     (a)     The claims alleged herein arise under sections 10(b) and 20(a) of the

Securities and Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. Section 78(i)(b), 78(t) and

78t-1(a) and pendent common law claims.

               (b)     Jurisdiction over the subject matter of this action is conferred upon this

Court by Section 27 of the Exchange Act, 15 U.S.C. Section 78aa, 28 U.S.C. Section 1331 and

28 U.S.C. 1307.

       14.     This Court has personal jurisdiction over defendants pursuant to Section 27 of the

Exchange Act, 15 U.S.C. Section 78aa.

       15.     In connection with the acts alleged herein, the defendants, directly or indirectly,

used the means and instrumentalities of interstate commerce, including the U.S. mails and

facilities of a national securities exchange. HRB’s securities trade on the New York Stock

Exchange and are registered pursuant to section 12(b) of the Securities Act of 1933.




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                                            PARTIES


       16.     Plaintiff Michael Nettie purchased shares of HRB securities during the Class

Period, as per the annexed certificate. Mr. Nettie purchased HRB securities on the New York

Stock Exchange and suffered damages.

       17.     HRB provides various financial services to the general public, principally in the

United States, Canada, Australia, and the United Kingdom. Its tax operations include tax return

preparation, and related services and products related to income tax return preparation in the

United States. The Company also offers customers various options for receiving their income tax

refund, including a check directly from the Internal Revenue Service, an electronic deposit

directly to their bank account, and a refund anticipation check.

       18.     HRB’s investment products and services include traditional brokerage services, as

well as annuities, insurance, fee-based accounts, online account access, equity research and focus

lists, model portfolios, asset allocation strategies, and other investment tools and information,

including the Express IRA program.

       19.     In addition, HRB originates mortgage loans, services nonprime loans, and sells

and securitizes mortgage loans and residual interests. The loan servicing involves collecting and

remitting mortgage loan payments, making required advances, accounting for principal and

interest, holding escrow for payment of taxes and insurance, and contacting delinquent

borrowers. Further, the Company offers accounting, tax, and consulting services to middle-

market companies. These services include wealth management, retirement resources, payroll

services, corporate finance, and financial process outsourcing.

       20.     HRB was founded in 1946 and is headquartered in Kansas City, Missouri.




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       21.     Defendant Mark A. Ernst is Chairman, President and CEO of the Company. Mr.

Ernst has served as Chairman of the Board of the Company since September 2002, CEO of the

Company since January 2001 and as President of the Company since September 1999. He served

as Chief Operating Officer of the Company from September 1998 through December 2000 and

as Executive Vice President of the Company from September 1998 until September 1999.

       22.     By reason of his direct and substantial management position and responsibilities,

Mr. Ernst is a “control person” of HRB within the meaning of the federal securities laws, had the

power and influence to control HRB, and exercised that control to cause HRB to engage in the

violations and improper practices complained of herein. Mr. Ernst had access to adverse non-

public information about HRB’s operations, and acted to conceal and misrepresent such material

information in violation of his duties and responsibilities under the federal securities laws.

       23.     It is appropriate to presume that the false, misleading, and incomplete information

conveyed in HRB’s press releases, public statements, and other publications as alleged herein are

the actions of Mr. Ernst. Mr. Ernst directly participated in the management of HRB, was directly

involved in the day-to-day operations of HRB at the highest levels, and was privy to confidential

proprietary information concerning the Company and its operations, as alleged herein. Mr. Ernst

was involved in drafting, producing, reviewing, and/or disseminating the false and misleading

statements and information alleged herein, was aware of or recklessly disregarded the fact that

false and misleading statements were being issued regarding HRB, and approved or ratified these

statements in violation of the federal securities laws.

                               BACKGROUND INFORMATION

       24.     Since 2002, HRB has emphasized its Express IRA accounts, opening nearly

500,000 accounts. These accounts only offer one investment option – an FDIC insured money

market account that typically pays an interest rate less than the rate of inflation.


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       25.     Mr. Ernst was aware of these problems since at least 2002, in particular that the

rates paid on the investments were uncompetitive and were consumed by the associated fees.

According to Mr. Spitzer’s complaint, Mr. Ernst received an e-mail from an HRB district

manager detailing problems with the program, and Mr. Ernst forwarded the e-mail to another

product manager and stated the Company should consider eliminating “the fees.” Mr. Spitzer’s

complaint annexes exhibits evidencing Defendants’ knowledge that the program presented

serious problems.

       26.     Notwithstanding Mr. Ernst’s knowledge that the program was suspect, the

Company marketed the program to hundreds of thousands of low-income customers. In fact,

according to Mr. Spitzer’s complaint, the typical customer who opens an Express IRA earns

under $30,000 per year and is saving for the first time. Approximately 80 percent of HRB

clients who opened an Express IRA funded it through their tax refund.

       27.     As also detailed below, the Company’s earnings improperly have been buttressed

through the use of the RALs program and the Company’s prospects falsely portrayed in a

positive light. Since 2001, Californians reportedly have bought more than 1.5 million RALs

from HRB, generating tens of millions of dollars in income for HRB and received a “substantial

portion of the loan fees,” according to the Mr. Lockyer’s complaint, and have purchased up to

49.9 percent of the loans.

       28.     To illustrate how the HRB RAL program targets low-income families, the

complaint notes that recipients of the federal Earned Income Tax Credit (EITC) comprise 70

percent of the Company’s customers for RALs and similar products, even though EITC

recipients account for just 17 percent of all taxpayers. The federal government established the

EITC to benefit low-income workers and their families.




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        29.        Additionally, HRB’s marketing of RALs has been deceptive in a number of ways,

according to the complaint. Advertisements have portrayed RALs as a “refund” or “instant

money,” and falsely told consumers that RAL recipients get “cash, cold, green, in your hand, out

the door.” In reality, the complaint alleges, the refund is a loan, the cash is a check, and the check

is for substantially less than the refund, after the loan fees and other charges are deducted.

        30.        Further, according to the complaint, HRB frequently has steered customers to

companies that charge fees to cash RAL checks, with HRB getting a kickback on a portion of

those fees.

        31.        HRB has failed to adequately disclose these arrangements to consumers, the

complaint alleges, the result being that the Company has garnered illegal profits via an

unsustainable business practice.

                                 CLASS PERIOD STATEMENTS

        32.        This action alleges that defendants engaged in a fraudulent course of business

conduct between January 31, 2005 and March 17, 2006, inclusive, the Class Period. During the

Class Period, Mr. Ernst and the Company issued myriad false and misleading statements

concerning the Company’s business practices, internal controls, tax reporting, and compliance

with applicable regulations, and omitted material information concerning his and the Company’s

executives’ knowledge that certain highly publicized tax and investment programs violated the

law. The effect of the practices was that the Company’s common stock traded at artificially

inflated levels.

        33.        On January 31, 2005, the first day of the Class Period, the Company announced

that “HRB Helps Working Americans Build a Stronger Financial Future.” Touting its efforts to

service lower-income Americans, the Company stated:




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               H&R Block (NYSE:HRB) is reaching out to low- to moderate-
               income taxpayers with a comprehensive portfolio of products,
               services and initiatives designed to help families and individuals
               maximize their tax refunds, keep more of their money and save for
               the future.

                                                ***

               “We are determined to harness the expertise and knowledge of our
               company and our tax professionals to help working Americans
               improve their financial situation," said Bernie Wilson, H&R Block
               vice president. “This is not only the right thing to do for our
               company, it's the right thing to do, period. In the months and years
               ahead, we will continue to help bring working families into the
               financial mainstream.”

                                                ***

               H&R Block's array of low- to moderate-income products and
               services help clients "get" the maximum refund they deserve,
               "keep" the money they earn and "save" for their future.

       34.     With respect to the Company’s Express IRA program:

               Save It: Building a Solid Financial Future H&R Block is proving
               wrong the widely held assumption that lower-income Americans
               can't save or don't want to save. Over the past four years, the
               company has helped nearly 400,000 families save almost $210
               million for their retirement. One important tool that H&R Block
               has created to boost saving is the Express IRA. The Express IRA
               allows clients to open a retirement account with as little as $300.
               The initial contribution can be funded from the individual's tax
               refund. After a client has reached $1,000 in savings, the client can
               roll the Express IRA into a more traditional retirement product.
               Thus far, about 23,000 account holders have moved their money to
               retirement vehicles offered by H&R Block Financial Advisors.
               There are millions of hardworking low-income and moderate-
               income people in this country who want a safe retirement just as
               much as wealthier people. With the help of an experienced tax
               professional, personalized advice and appropriate products, they
               too can secure their futures.

       35.     On February 24, 2005, HRB reported net income of $91.7 million, or 55 cents per

diluted share, for the third quarter ended January 31, 2005. Revenues in the third quarter were a

reported record $1.03 billion, a 7.2 percent increase over the prior year's quarter.


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       36.     Commenting on the Company’s Investment Services division, in which the

Express IRA business was reported, Mr. Ernst stated:

               Investment Services: Investment services reported third quarter
               revenues of $62.1 million, a 7.5 percent increase over the prior
               year. The pretax loss increased $5.5 million to $18.3 million. For
               the nine-month period, revenues improved 1.2 percent to $169.4
               million, while the pretax loss increased nearly 46 percent to $61.1
               million. "While we are not satisfied with the performance of this
               business, the results are consistent with the view discussed during
               last month's annual investor conference," Ernst said. "We're
               developing a plan to better align this segment's cost structure,
               revenue stream, and strategy for the future. We are seeing strong
               results from our expanded tax professional/financial advisor teams
               designed to increase the delivery of financial services to our tax
               clients," Ernst said.

       37.     On March 9, 2005, the Company filed its third quarter report on Form 10-Q for

the period ended January 31, 2005. The report reiterated the earnings reported in the February

24, 2005 press release.

       38.     The quarterly report stated that for the nine months ending January 31, 2005, the

Company had over $295 million assets under management in the Express IRA program.

               For the nine months ended January 31, 2005 compared to January
               31, 2004, the quarterly report stated that the Company’s “[o]ther
               service revenues increased $12.3 million primarily as a result of
               additional revenues associated with POM guarantees and, to a
               lesser extent, increased revenues from RACs and Express IRAs.”

               For the three months ended January 31, 2005 compared to January
               31, 2004 “[o]ther service revenues increased $8.1 million primarily
               as a result of additional revenues associated with Refund
               Anticipation Checks (RACs), Express IRAs and, to a lesser extent,
               increased revenues from POM guarantees.”

               With respect to the Company’s compliance with regulations
               applicable to the Company’s Investment Services Division, the
               quarterly report stated: “Investment Services. Investment Services,
               through HRBFA, is subject to regulatory requirements intended to
               ensure the general financial soundness and liquidity of broker-
               dealers.”



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       39.     On June 8, 2005, the Company reported a 13 percent increase in fourth quarter

EPS and fiscal year guidance set at $4.25 to $4.65 per, along with a two-for-one stock split and

dividend increase.

       40.     The strong earnings were reportedly “driven by revenue growth in each of [the

Company’s] lines of business. Fourth quarter revenues increased 7.2 percent over the prior year's

quarter to $2.4 billion. Revenues for the fiscal year were $4.4 billion, a 4.1 percent increase over

the prior year.” Further:

               Consolidated net income for the fourth quarter increased 6.9
               percent to $616.5 million. Consolidated net income for the fiscal
               year declined 10.5 percent to $635 million. Earnings per diluted
               share for the fourth quarter increased 13 percent to $3.66. For the
               fiscal year, earnings per diluted share decreased 4.1 percent to
               $3.76.

       41.     Commenting on the results, Mr. Ernst stated:

               We finished our fiscal year on a very high note. . . . We
               successfully completed an important transition year in our tax
               business, saw our mortgage business returning to more normalized
               levels of profitability, finished a stellar year at RSM McGladrey,
               and achieved important changes in our investment services
               organization during the quarter.

               For our U.S. tax operations, opening more than 1,200 new retail
               locations this year was an important first step in positioning us for
               future client growth as these new locations mature.

               Increasing our mortgage sales staff resulted in a 33 percent
               increase to loan origination volume for the year. At the same time,
               we are lowering our cost of origination to succeed in a more
               competitive environment.

               For fiscal year 2006, the company said it expects earnings per
               share in the range of $4.25 to $4.65. Our focus on building our
               business for the long term is expected to deliver strong financial
               results in the coming year.

       42.     The press release referenced in general terms that the Company would restate

some prior results:


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              Restated Results. The company said that it will restate its results
              for fiscal years 2004 and 2003, as well as previously reported
              quarterly results for fiscal 2005, making several changes that it
              believes collectively will result in an estimated 6-cent increase in
              earnings per share in fiscal 2004, and an estimated 8-cent decrease
              in earnings per share in fiscal 2003. The restatement had the effect
              of adding 14 cents per share to fiscal 2005 results reported prior to
              the fourth quarter. The decision to restate was based on the
              cumulative impact of the items.

              The company has not completed its analysis of the restatement
              adjustments, and accordingly, the effects of the restatement are
              preliminary and subject to change. These adjustments are being
              reviewed with the company's current and former auditors, and
              additional detail will be provided later in the company's Form 8-K
              and 10-K filings.

       43.    Mr. Ernst further commented on the Company Investment Services division:

              Investment services' fourth quarter revenues increased 12.5 percent
              to $69.8 million from the prior year's fourth quarter. Fiscal year
              revenues rose 4.3 percent to $239.2 million. The fourth quarter
              pretax loss improved 44.6 percent to $12.9 million, compared with
              the prior year's quarter. For the fiscal year, the pretax loss
              improved 0.7 percent to $68.1 million. "We've taken a number of
              actions to dramatically restructure this business, moving to more
              closely align its costs with its near-term revenue potential," Ernst
              said. "We've also stepped up our efforts to enhance our advisors'
              productivity, focusing on programs that will create stronger
              partnerships with our U.S. tax professionals. Our focus in the
              upcoming year is on reducing costs as well as attracting and
              retaining productive advisors," Ernst said. "We'll prudently review
              all expenditures, measuring them against the segment's
              performance to achieve a profitable business environment. We
              expect fiscal 2006 results to show significant improvement."

       44.    On July 29, 2005, the Company filed its annual report on Form 10-K. The annual

report touted the Express IRA and that they paid competitive interest rates without mention of

the draconian fees associated with them.

              Individual retirement accounts (“Express IRAs”), invested in
              FDIC-insured money market accounts, are offered to U.S. clients
              as a tax-advantaged retirement savings tool. HRBFA acts as
              custodian on the accounts, with the funds being invested at insured



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              depository institutions paying competitive money market interest
              rates.

              As previously discussed in “Tax Services,” we offer our tax clients
              the opportunity to open an Express IRA through HRBFA as a part
              of the tax return preparation process. Clients opened approximately
              106,500 Express IRAs during tax season 2005, approximately
              145,400 in 2004 and approximately 105,400 in 2003.

       45.    The annual report further stated that “service revenues increased $16.0 million, or

12.6%, primarily as a result of additional revenues associated with RALs and Express IRAs.”

       46.    With respect to the RALs, the annual report stated:

              Our Tax Services segment is primarily engaged in providing tax
              return preparation and related services and products in the United
              States and its territories, Canada, Australia and the United
              Kingdom. Revenues include fees earned for services performed at
              company-owned retail tax offices, royalties from franchise retail
              tax offices, sales of Peace of Mind (“POM”) guarantees, sales of
              tax preparation and other software, fees from online tax
              preparation, and participation in refund anticipation loans
              (“RALs”). Segment revenues constituted 53.4% of our
              consolidated revenues for fiscal year 2005, 51.6% for 2004, and
              52.2% for 2003.

                                               ***

              RALs are offered to our U.S. clients by a designated bank through
              a contractual relationship with HSBC Holdings plc (“HSBC”). An
              eligible, electronic filing client may apply for a RAL at one of our
              offices. After meeting certain eligibility criteria, clients are offered
              the opportunity to apply for a loan from HSBC in amounts up to
              $9,999 based upon their anticipated federal income tax refund. We
              simultaneously transmit the income tax return information to the
              IRS and the lending bank. Within a few days or less after the filing
              date, the client receives a check or direct deposit in the amount of
              the loan, less the bank’s transaction fee, our tax return preparation
              fee and other fees for client-selected services. Additionally,
              qualifying electronic filing clients are eligible to receive their RAL
              proceeds, less applicable fees, in approximately one hour after
              electronic filing using the Instant Money service. For a RAL to be
              repaid, the IRS directly deposits the participating client’s federal
              income tax refund into a designated account at the lending bank.
              See related discussion of RAL participations below.



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       47.    RALs constitute a material part of the Company’s business and revenues:

              Revenues earned during fiscal year 2004 in connection with RAL
              participations totaled $168.4 million. These revenues are
              approximately $30.1 million higher than waiver fees earned during
              fiscal year 2003. See discussion of the waiver below. Our RAL
              participation revenues benefited from the new company-owned
              operations in former major franchise territories. We participate in
              RALs at a rate of nearly 50% for company-owned offices
              compared to 25% in major franchise offices. This increased
              participation rate caused our revenues to increase, although the
              number of RALs declined.

       48.    The Company stated in no uncertain terms that the RALs program comports with

applicable compliance obligations:

              We also believe that the RAL program is productive for the
              Company and a useful service for our customers. The RAL
              program is regularly reviewed both from a business perspective
              and to ensure compliance with applicable state and federal laws. It
              is our intention to continue to offer the RAL program in the
              foreseeable future.

       49.    Furthermore, the Company was highly motivated to keep the program viable and

generating income - $182 million for the year ended April 30, 2005:

              Loss of the RAL program could adversely affect our operating
              results. In addition to the loss of revenues and income directly
              attributable to the RAL program, the inability to offer RALs could
              indirectly result in the loss of retail tax clients and associated tax
              preparation revenues, unless we were able to take mitigating
              actions. Total revenues related to the RAL program (including
              revenues from participation interests) were $182.6 million for the
              year ended April 30, 2005, representing 4.1% of consolidated
              revenues and contributed $101.3 million to the segment’s pretax
              results. Revenues related to the RAL program totaled $174.2
              million for the year ended April 30, 2004, representing 4.1% of
              consolidated revenues.

       50.    On September 1, 2005, HRB reported a 26 percent increase in first quarter

revenue to $615 million, up from $486.6 million in the prior year and a net loss of $28.3 million




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for the first quarter of fiscal 2006 that was 23 percent better than the $36.7 million loss posted

the prior year.

       51.        Commenting on the results, Mr. Ernst stated:

                  We've started the year with a strong first quarter, highlighted by
                  double-digit revenue increases in all business segments . . . Even
                  with our continuing investment in new tax offices, we saw an
                  improvement over the loss posted last year.

       52.        With respect to the Investment Services division, the Company reported:

                  Revenues for Investment Services in the first quarter increased 27
                  percent to $68 million from $53.6 million in the prior year period.
                  The 2006 first quarter pretax loss of $7.6 million was 63 percent
                  better than the loss of $20.3 million last year. Included in the
                  pretax loss is $9.2 million of intangible amortization.

       53.        Again, concerning the Investment Services division, Mr. Ernst touted the division:

                  “The opportunity that we saw for significantly improved
                  performance from Investment Services is beginning to become
                  reality,” Ernst said. “While there's still work ahead to achieve
                  better business positioning and performance, we're showing real
                  progress in aligning costs with revenues, raising productivity and
                  forging partnerships with our U.S. tax professionals. We are
                  optimistic that significant performance improvement will continue
                  this year.”

       54.        On November 17, 2005, HRB reported its second quarter financial results for

fiscal 2006. The Company reported a net loss of $72.2 million, or 22 cents per share, compared

with a loss of $49.9 million, or 15 cents per share, in the year-ago quarter. Revenues in the

quarter rose 14 percent to $620.4 million from $542 million in the prior-year period.

       55.        Commenting on the results, Mr. Ernst stated:

                  Good performance in our Tax Services, RSM McGladrey and
                  Financial Advisors businesses was offset by weak mortgage
                  earnings. Though mortgage originations and revenues were up
                  during the second quarter, industry pricing pressure and rising
                  funding rates combined to limit mortgage earnings.

       56.        With respect to the Investment Services division, the Company stated:


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               Revenues in the quarter increased 30 percent to $70.0 million from
               $53.8 million in the prior-year period. The pretax loss of $7.9
               million in the quarter was 62 percent better than a loss of $20.8
               million last year. Included in the quarterly loss in both years is
               $9.2 million of intangible amortization.

       57.     Again, concerning the Investment Services division, Mr. Ernst touted the division:

               We were looking for significant performance improvement at
               Financial Advisors this year, and so far that expectation is being
               met. There’s work to be done to achieve the level of performance
               we need to sustain this business, but the trend of improvement is
               clearly encouraging.

       58.     On December 12, 2005, HRB announced the revision of its previously reported

second quarter results for fiscal 2006. In particular, the Company revised its previously reported

quarterly net loss of $72.2 million, or 22 cents per share, to a net loss of $86.3 million, or 26

cents per share. Subsequent to the previously announced second quarter results, the Company

conducted an analysis of potential losses associated with Hurricanes Katrina and Rita, and

recorded a specific provision for estimated losses. The revision also reflects an increase in state

tax expense and change in mortgage servicing rights valuation during the quarter. Moreover,

HRB announced that its full-year earnings per share estimate of $1.90 to $2.15 remains

unchanged.

                TRUTH BEGINS TO SLOWLY EMERGE CONCERNING
                    THE COMPANY’S IMPROPER PRACTICES

       59.     On February 15, 2006, the California Attorney General, Mr. Lockyer, filed a

complaint against HRB (discussed infra) alleging that the Company engaged in a conspiracy,

common enterprise and common course of conduct, the purpose of which was to commit acts

and practices of unfair competition and making untrue or misleading statements with respect to

the RALs program, among other practices.




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       60.     HRB issued a press release on this same day denying the allegations of Mr.

Lockyer’s. The Company responded as follows:

               [HRB] provides its clients with multiple, prominent disclosures
               about cross collection before clients commit to a refund
               anticipation loan or other bank product. We clearly lead our
               industry in the quality and quantity of disclosures and financial
               education provided to clients so that they can make informed
               decisions in all aspects of tax preparation and refund process. We
               believe the Attorney General would better serve California
               consumers by ensuring that HRB’s competitors follow our
               example.

       61.     On February 23, 2006, HRB announced its third quarter results for fiscal 2006.

The Company reported that revenues rose 12 percent to $1.2 billion from $1.0 billion in the

prior-year period. Slightly lower revenues in Mortgage Services were offset by higher revenues

in all other segments of the Company’s operations. Net earnings were $28.8 million, or 9 cents

per diluted share. For the third quarter of 2005, net earnings were $92.3 million, or 28 cents per

share, which included the benefit of $10.1 million after-tax legal recovery representing 3 cents

per share.

       62.     Concerning the Investment Services division, the Company stated:

               Investment services posted its fourth consecutive quarter of
               improved year-over-year results. The pretax loss of $7.7 million in
               the quarter was 61 percent better than a loss of $19.8 million in the
               third quarter of fiscal 2005. Included in the quarterly loss in both
               years is $9.2 million of intangible amortization. Revenues in the
               fiscal 2006 third quarter rose 18 percent to $73.2 million from
               $62.1 million in the prior-year period.

               The improvements were driven by higher production levels, higher
               net interest revenues due to higher rates and the benefits of cost
               control.

       63.     Mr. Ernst, commenting on the Investment Services division, stated:

               The steady performance improvement at [HRB] Financial
               Advisors continues to be encouraging. We have expanded
               relationships between our financial advisors and tax professionals


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               to serve more of the financial needs of our clients, and we’ve been
               successful in moving clients from Tax Services into Financial
               Advisor account relationships.

       64.     Further, in a bizarre turn of events, the Company reported it was having problems

with its own taxes and will restate earnings for fiscal years 2004 and 2005, as well as the first

two quarters of fiscal 2006, to correct accounting errors it said led to the Company understating

its income tax liability last year by $32 million.

       65.     This marked the second time in six months that HRB said it would have to restate

past earnings because of accounting problems.

       66.     In the latest case, the Company said it plans to reduce fiscal year 2005 earnings by

7 cents per share and reduce fiscal year 2004 earnings by 2 cents. Officials said the mistakes had

to do with estimating the Company's state effective income tax rate.

       67.     News of this bitterly ironic circumstance caused the Company’s common stock to

fall $1.86, or 7 percent, to $23.33 in morning trading on the New York Stock Exchange on

February 24, 2006. The stock's weakest level of $22.90 on the day was below its previous 52-

week low of $23.01.

       68.     The Company’s troubles continued to leak into the market on March 13, 2006,

when it filed a NT 10-Q with the SEC that said it would not file its quarterly report with the SEC

on time, blaming the delay on the previously announced restatement of earnings going back to

2004 -- a restatement prompted by the discovery that the Company underpaid its state taxes.

       69.     The filing stated that HRB was "continuing the process of analyzing the state

income tax expense to determine the final restatement adjustment and the periods to which such

adjustments relate," but said "it is unlikely that the process will be complete and audited within a

time frame that permits the company's form 10Q for the quarter ended January 31, 2006 to be

filed within the prescribed time period."


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       70.     Finally, on March 15, 2006, New York State Attorney General, Mr. Spitzer,

launched a lawsuit against HRB. The suit, filed in New York State Supreme Court, (discussed

infra) alleges that the Company's Express IRA product didn't disclose enough information about

the expenses associated with it. In short, Mr. Spitzer alleged that the product costs HRB

customers more in fees than the interest earned.

       71.     News of the suit’s allegations concerning the Company’s improper practices, and

that it would no longer be able to pad its earnings with revenues from the Express IRA plans,

caused the Company's shares to tumble $2.20, or 10 percent, to $19.80 in morning trading on the

New York Stock Exchange. The stock fell below its previous 52-week low of $21.58 set on

March 14. By the end of trading on March 15, 2006, the stock closed at $21.41 per share.

       72.     The above statements concerning the Company’s business practices, earnings, and

business model were false and misleading, and omitted material information. In particular, the

Company’s filings and earnings releases falsely touted the virtues of the Company’s Express

IRA product, while failing to disclose that the product was burdened with excessive fees that

literally consumed any returns the accounts generated.

       73.     The Company’s statements also failed to disclose that Mr. Ernst – along with

other members of management – knew that the fees were onerous and would incur regulatory

scrutiny, and that they were part of an unsustainable business model that, once uncovered, would

no longer generate revenues to the degree they had during the period prior to Mr. Spitzer’s

complaint.

       74.     Defendants failed to disclose that the Express IRAs were designed to take

advantage of lower-income persons by charging inappropriate fees that wrongfully inflated the

Company’s earnings. The Company further falsely portrayed itself as providing competitive




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investment products that would augment the Company’s earnings when members of

management, including Mr. Ernst, knew they were improper.

       75.     Moreover, the Company’s earnings were inflated during the Class Period because

the Company was underpaying its state tax liabilities, thereby necessitating that it restate prior

earnings’ periods, delay the filing of its quarterly report and conduct a more in depth

investigation than initially reported.

       76.     During the Class Period, the Company earned substantial revenues on the

aforementioned RALs or “Refund Anticipation Loans.” The RALs are secured by taxpayers’

anticipated tax refund and based on the amount one anticipates to receive as a refund. The IRS

does not let HRB make the loans directly.

       77.     Instead, the loans are technically provided by a bank that HRB contracts via HRB

subsidiaries. This practice has earned HRB substantial revenues. But HRB doesn’t disclose to

its clients that it earns these revenues – nearly 50 percent of the interest on the loan and a license

fee. Defendants further market these loans as the “customer’s money” when they are not a

refund, but rather a loan that carries an interest obligation and other fees.

       78.     In this way, the Company has garnered substantial revenues via a deceptive trade

practice that Mr. Lockyer has called illegal and targeted to exploit lower-income persons eager

for their refunds.

       79.     Defendants have omitted material information concerning the legality of this

practice and the known risks associated with doing this type of business. The duty to disclose

this is triggered by the Company touting the RALs and reporting that the business is profitable,

sustainable and lawful when in fact it is not.




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       80.     For example, the Company’s annual report discusses RALs and states that they

are subject to regulatory schemes:

               Federal statutes and regulations also regulate an electronic filer’s
               involvement in RALs. Electronic filers must clearly explain the
               RAL is a loan and not a substitute for or a quicker way of receiving
               an income tax refund. Federal laws place restrictions on the fees an
               electronic filer may charge in connection with RALs. In addition,
               some states and localities have enacted laws and adopted
               regulations for RAL facilitators and/or the advertising of RALs.

                                               ***

               We believe the federal, state and local laws and legislation
               regulating electronic filing, RALs and the facilitation of RALs,
               loan brokers, credit services, credit repair services, insurance
               products, and proprietary schools have not, and will not in the
               future, have a material adverse effect on our operations.

       81.     Defendants, however, omitted from this information that the Company’s RALs

practice was facilitated through false and misleading advertising directed to lower income

persons, and that it ran afoul of several states’ laws, including California. Accordingly, any

revenues garnered under this plan were subject to potential forfeiture and penalty. Moreover, it

was false for Defendants to portray the RALs as a component of a proper business model that

would generate revenues going forward.

       82.     Finally, Defendants at least recklessly filed inaccurate results with the SEC. In

particular, the Company’s 2004 and 2005 earnings understated state taxes by $10 million and

$22 million respectively.      Further, the Company stated “the review is continuing” and

“everything is still preliminary.”

                               CLASS ACTION ALLEGATIONS

       83.     Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons who, during the Class

Period purchased HRB securities on the New York Stock Exchange (the “Class”). Excluded


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from the Class are the defendants, all of the officers, directors, employees and partners thereof,

members of their immediate families and their legal representatives, heirs, predecessors,

successors and assigns and any entity in which any of the foregoing has a controlling interest.

       84.     The members of the Class are so numerous that joinder of all members is

impracticable. As of November 30, 2005, the Company had more than 327 million shares of its

stock outstanding. While the exact number of Class members is unknown to plaintiffs at this time

and can only be ascertained through appropriate discovery, plaintiffs believe there are, at a

minimum, thousands of members of the Class located throughout the United States. Throughout

the Class Period, HRB securities were actively traded on the New York Stock Exchange.

       85.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class are:

                      a.      Whether the federal securities laws were violated by defendants’

acts and omissions as alleged herein;

                      b.      Whether statements made by defendants to the investing public

during the Class Period misrepresented and/or omitted material facts about the financial

condition of HRB;

                      c.      Whether defendants acted knowingly or recklessly in making

materially false and misleading statements during the Class Period;

                      d.      Whether the market prices of the Company’s stock and options

were artificially inflated or distorted during the Class Period because of defendants’ conduct

complained of herein; and




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                        e.      Whether the members of the Class have sustained damages and, if

so, the proper measure of damages.

        86.     Plaintiff’s claims are typical of the claims of the members of the Class as they and

members of the Class sustained damages arising out of the defendants’ wrongful conduct in

violation of federal securities laws as complained of herein.

        87.     Plaintiff will fairly and adequately protect the interests of the members of the

Class, and have retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        88.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members of the Class is impracticable.

Furthermore, because the damages suffered by individual Class members may be relatively

small, the expense and burden of individual litigation make it impossible for the Class members

individually to redress the wrongs done to them. There will be no difficulty in the management

of this action as a class action.

                               PRESUMPTION OF RELIANCE:
                             FRAUD ON THE MARKET DOCTRINE

        89.     Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                a.      defendants made false and misleading statements of material fact, and

failed to disclose material facts, during the Class Period;

                b.      the misstatements and omissions were material;

                c.      the securities and options of the Company traded in efficient and open

markets (excluding the effects of fraud): the Company was followed by numerous major




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analysts; the Company’s securities met the requirements for listing, and were listed and actively

traded on the NYSE; and

               d.      the misstatements and omissions alleged would tend to induce a

reasonable investor to misjudge the value of the Company’s securities.

       90.     Plaintiff and members of the Class purchased their HRB securities between the

time defendants misrepresented or failed to disclose material facts and the time the true facts

were disclosed, without knowledge of the omitted facts.

       91.     Based upon the foregoing, Plaintiff and other members of the Class are entitled to

a presumption of reliance upon the integrity of the market price for the Company’s securities.

                                         COUNT I
                      Violation Of Section 10(b) Of The Exchange Act
                      And Rule 10b-5 Of The Securities And Exchange
                     Commission As Against Defendants HRB and Ernst

       92.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       93.     This Count is asserted against defendants HRB and Mr. Ernst and is based upon

section 10(b) of the 1934 Act, 15 U.S.C. 78j(b), and Rule 10b-5 promulgated thereunder.

       94.     During the Class Period, defendants HRB and Mr. Ernst directly engaged in a

common plan, scheme, and unlawful course of conduct, pursuant to which they knowingly or

recklessly engaged in acts, practices, and courses of business which operated as a fraud and

deceit upon plaintiff and the other members of the Class, and made various deceptive and untrue

statements of material facts and omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading to

plaintiff and the other members of the Class. The purpose and effect of said scheme, plan, and




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unlawful course of conduct was, among other things, to induce plaintiff and the other members

of the Class to purchase HRB securities during the Class Period at artificially inflated prices.

       95.     During the Class Period, defendants HRB and Mr. Ernst, pursuant to said scheme,

plan, and unlawful course of conduct, knowingly and recklessly issued, caused to be issued and

participated in the issuance of, the preparation and issuance of deceptive and materially false and

misleading statements to the investing public as particularized above.

       96.     As a result of the dissemination of the false and misleading statements set forth

above, the market price of HRB securities was artificially inflated during the Class Period. In

ignorance of the false and misleading nature of the statements described above, and the deceptive

and manipulative devices and contrivances employed by said defendants, plaintiff and the other

members of the Class relied, to their detriment, on the integrity of the market price of the stock in

purchasing HRB securities. Had plaintiff and the other members of the Class known the truth,

they would not have purchased said shares, or would not have purchased them at the inflated

prices that were paid.

       97.     Plaintiff and the other members of the Class have suffered substantial damages as

a result of the wrongs herein alleged in an amount to be proved at trial.

       98.     By reason of the foregoing, defendants HRB and Mr. Ernst directly violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder in that they: (a)

employed devices, schemes, and artifices to defraud; (b) made untrue statements of material facts

or omitted to state material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; or (c) engaged in acts, practices,

and a course of business which operated as a fraud and deceit upon plaintiff and the other




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members of the Class in connection with their purchases of HRB securities during the Class

Period.

                                          COUNT II
                      For Violation Of Section 20(a) Of The Exchange Act
                                  As Against Defendant Ernst

          99.    Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

          100.   Mr. Ernst acted as controlling person of the Company within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level position,

participation in and/or awareness of the Company’s operations, and/or intimate knowledge of the

Company’s products, sales, accounting, plans and implementation thereof, he had the power to

influence and control, and did influence and control, directly or indirectly, the decision-making

of the Company, including the content and dissemination of the various statements that plaintiff

contends are false and misleading. Mr. Ernst was provided with or had unlimited access to

copies of the Company’s reports, press releases, public filings and other statements alleged by

plaintiff to be misleading prior to and/or shortly after these statements were issued, and had the

ability to prevent the issuance of the statements, or cause the statements to be corrected.

          101.   In particular, Mr. Ernst had direct and supervisory involvement in the day-to-day

operations of the Company and, therefore, is presumed to have had and exercised the power to

control or influence the particular statements giving rise to the securities violations as alleged

herein.

          102.   By virtue of his position as a controlling person, Mr. Ernst is liable pursuant to

section 20(a) of the Exchange Act. As a direct and proximate result of the wrongful conduct,




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plaintiff and other members of the Class suffered damages in connection with their purchases of

the Company’s securities during the Class Period.

          WHEREFORE, plaintiff, on its own behalf and on behalf of the Class, prays for

judgment as follows:

                A.     Declaring this action to be a proper class action and certifying plaintiff as

class representative under Rule 23 of the Federal Rules of Civil Procedure;

                B.     Awarding compensatory damages in favor of plaintiff and the other

members of the Class against the Defendants for the damages sustained as a result of the

wrongdoings of the Defendants, together with interest thereon;

                C.     Awarding plaintiff the fees and expenses incurred in this action, including

reasonable allowance of fees for plaintiff’s attorneys, and experts;

                D.     Granting extraordinary equitable and/or injunctive relief as permitted by

law, equity and federal and state statutory provisions sued on hereunder, including attaching,

impounding, imposing a constructive trust upon or otherwise restricting the proceeds of

Defendants’ trading activities or their other assets so as to assure that plaintiff has an effective

remedy; and

                E.     Granting such other and further relief as the Court may deem just and

proper.




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                                   JURY DEMAND

         Plaintiff demands a trial by jury on all issues so triable.

DATED:   March 17, 2006
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